Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 1 of 60




                 EXHIBIT 1
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 2 of 60




 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
      Charles K. Verhoeven (Bar No. 170151)
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  johnneukom@quinnemanuel.com
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  jordanjaffe@quinnemanuel.com
    50 California Street, 22nd Floor
  San Francisco, California 94111-4788
    Telephone:     (415) 875-6600
  Facsimile:     (415) 875-6700

  Attorneys for WAYMO LLC
                            UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA

                               SAN FRANCISCO DIVISION

 WAYMO LLC,                                CASE NO. 3:17-cv-00939-WHA

              Plaintiff,                   PLAINTIFF WAYMO’S NOTICE OF
                                              SERVICE OF SUBPOENA
        vs.

 UBER TECHNOLOGIES, INC.;
    OTTOMOTTO LLC; OTTO TRUCKING
 LLC,

              Defendants.

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                                                              CASE NO. 3:17-cv-00939-WHA
                                                              NOTICE OF SERVICE OF SUBPOENA
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 3 of 60




 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

         PLEASE TAKE NOTICE that, under Rule 45 of the Federal Rules of Civil Procedure,

  Plaintiff Waymo LLC (“Waymo”) will serve the attached subpoena on third party Stroz Friedberg,

  LLC.

 

  DATED: May 10, 2017                      QUINN EMANUEL URQUHART & SULLIVAN,
                                             LLP
 
                                              By /s/ David A. Perlson
 
                                                 David A. Perlson
                                               Attorneys for WAYMO LLC

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                                                -1-                    CASE NO. 3:17-cv-00939-WHA
                                                                       NOTICE OF SERVICE OF SUBPOENA
                        Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 4 of 60

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                         for the
                                                    Northern             District of California

WAYMO LLC
                                                                             )
                              Plaintiff                                      )
                                  v.                                         )        Civil Action No. 3:17-cv-00939-WHA
UBER TECHNOLOGIES, INC.; OTTOMOTTO                                           )
LLC; OTTO TRUCKING LLC                                                       )
                             Defendant                                       )

             SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
               OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
    Stroz Friedberg,LLC
To: c/o CSC-Lawyers Incorporating Service
    2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833
                                                      (Name of person to whom this subpoena is directed)

    X Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A.



 Place:     Quinn Emanuel Urquhart & Sullivan LLP, 50 California Street, 22nd           Date and Time:

 Floor, San Francisco, California 94111                                                 May 25, 2017 at 9:00 a.m.

         Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:      May 10, 2017
                                       CLERK OF COURT
                                                                                           OR

                                             Signature of Clerk or Deputy Clerk                                       Attorney’s signature
                                                                          Charles K. Verhoeven
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Waymo LLC
                                                                         , who issues or requests this subpoena, are:
Charles K. Verhoeven, 50 California Street, 22nd Floor, San Francisco,
California 94111; qewaymo@quinnemanuel.com; Tel: (415) 875-6600
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                             AO-88B
                      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 5 of 60


AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

         I received this subpoena for (name of individual and title, if any)
on (date)                             .

              I served the subpoena by delivering a copy to the named person as follows:


                                                                                         on (date)                                    ; or

              I returned the subpoena unexecuted because:
                                                                                                                                                  .
         Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
         tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
         $ 0.00                                  .

My fees are $                        0.00        for travel and $                   0.00 for services, for a total of $                      0.00 .


         I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server’s signature



                                                                                              Printed name and title




                                                                                                 Server’s address

Additional information regarding attempted service, etc.:
                         Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 6 of 60

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                             (ii) disclosing an unretained expert’s opinion or information that does
                                                                                not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a             study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                 (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or            described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                      modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly     conditions if the serving party:
transacts business in person, if the person                                          (i) shows a substantial need for the testimony or material that cannot be
     (i) is a party or a party’s officer; or                                    otherwise met without undue hardship; and
     (ii) is commanded to attend a trial and would not incur substantial             (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is     procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                        information:
   (B) inspection of premises at the premises to be inspected.                     (A) Documents. A person responding to a subpoena to produce documents
                                                                                must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                     must organize and label them to correspond to the categories in the demand.
                                                                                   (B) Form for Producing Electronically Stored Information Not Specified.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney          If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps       information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the            which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must             (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include          person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who         information in more than one form.
fails to comply.                                                                   (D) Inaccessible Electronically Stored Information. The person
                                                                                responding need not provide discovery of electronically stored information
  (2) Command to Produce Materials or Permit Inspection.                        from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                   of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to         order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of    reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,      made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                              requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible          26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or         (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises — or to        (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.     under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for       material must:
compliance or 14 days after the subpoena is served. If an objection is made,        (i) expressly make the claim; and
the following rules apply:                                                          (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party     tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an         privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                        (B) Information Produced. If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the    subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from   trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                  that received the information of the claim and the basis for it. After being
                                                                                notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                          information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where         until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                    information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                            present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits            compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                        produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no   resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                    (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a           The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on       motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                            who, having been served, fails without adequate excuse to obey the
     (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
development, or commercial information; or



                                      For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 7 of 60




                                       ATTACHMENT A

                                         DEFINITIONS

       1.      “YOU” or “STROZ” means Stroz Friedberg LLC and its officers, directors,

current and former employees, counsel, agents, consultants, representatives, and any other

persons acting on behalf of any of the foregoing, and YOUR affiliates, parents, divisions, joint

ventures, licensees, franchisees, assigns, predecessors and successors in interest, and any other

legal entities, whether foreign or domestic, that are owned or controlled by YOU, and all

predecessors and successors in interest to such entities, and any entity owned in whole or in part

by, affiliated with, or controlled in whole or in part by YOU.

       2.      “WAYMO” means Waymo LLC and its officers, directors, current and former

employees, counsel, agents, consultants, representatives, and any other persons acting on behalf

of any of the foregoing, and WAYMO’s affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors and successors in interest, and any other legal entities, whether

foreign or domestic, that are owned or controlled by WAYMO, and all predecessors and

successors in interest to such entities, and any entity owned in whole or in part by, affiliated

with, or controlled in whole or in part by WAYMO.

       3.      “GOOGLE” means Google Inc. and its officers, directors, current and former

employees, counsel, agents, consultants, representatives, and any other persons acting on behalf

of any of the foregoing, and GOOGLE’s affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors and successors in interest, and any other legal entities, whether

foreign or domestic, that are owned or controlled by GOOGLE, and all predecessors and

successors in interest to such entities, and any entity owned in whole or in part by, affiliated

with, or controlled in whole or in part by GOOGLE.




ATTACHMENT A                                     1
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 8 of 60




       4.      “UBER” means Uber Technologies, Inc. and its officers, directors, current and

former employees, counsel, agents, consultants, representatives, and any other persons acting on

behalf of any of the foregoing, and UBER’s affiliates, parents, divisions, joint ventures,

licensees, franchisees, assigns, predecessors and successors in interest, and any other legal

entities, whether foreign or domestic, that are owned or controlled by UBER, and all

predecessors and successors in interest to such entities, and any entity owned in whole or in part

by, affiliated with, or controlled in whole or in part by UBER.

       5.      “OTTOMOTTO” means Ottomotto LLC and its officers, directors, current and

former employees, counsel, agents, consultants, representatives, and any other persons acting on

behalf of any of the foregoing, and OTTOMOTTO’s affiliates, parents, divisions, joint ventures,

licensees, franchisees, assigns, predecessors and successors in interest, and any other legal

entities, whether foreign or domestic, that are owned or controlled by OTTOMOTTO, and all

predecessors and successors in interest to such entities, and any entity owned in whole or in part

by, affiliated with, or controlled in whole or in part by OTTOMOTTO. For the avoidance of

doubt, OTTOMOTTO includes all former names under which OTTOMOTTO operated,

including without limitation 280 Systems, Inc., 280 Systems, LLC, and Ottomotto, Inc.

       6.       “OTTO TRUCKING” means Otto Trucking LLC and its officers, directors,

current and former employees, counsel, agents, consultants, representatives, and any other

persons acting on behalf of any of the foregoing, and OTTO TRUCKING’s affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

and any other legal entities, whether foreign or domestic, that are owned or controlled by OTTO

TRUCKING, and all predecessors and successors in interest to such entities, and any entity




ATTACHMENT A                                     2
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 9 of 60




owned in whole or in part by, affiliated with, or controlled in whole or in part by OTTO

TRUCKING.

       7.      “DEFENDANTS” means UBER and OTTOMOTTO AND OTTO TRUCKING.

       8.      “MORRISON” means Morrison & Foerster LLP, and its officers, directors,

current and former employees, counsel, agents, consultants, representatives, and any other

persons acting on behalf of any of the foregoing, and MORRISON’s affiliates, parents, divisions,

joint ventures, licensees, franchisees, assigns, predecessors and successors in interest, and any

other legal entities, whether foreign or domestic, that are owned or controlled by MORRISON,

and all predecessors and successors in interest, and any entity owned in whole or in part by,

affiliated with, or controlled in whole or in part by MORRISON.

       9.      “O’MELVENY” means O’Melveny & Meyers LLP, and its officers, directors,

current and former employees, counsel, agents, consultants, representatives, and any other

persons acting on behalf of any of the foregoing, and O’MELVENY’s affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

and any other legal entities, whether foreign or domestic, that are owned or controlled by

O’MELVENY, and all predecessors and successors in interest, and any entity owned in whole or

in part by, affiliated with, or controlled in whole or in part by O’MELVENY.

       10.     “DONAHUE” means Donahue Fitzgerald LLP, and its officers, directors, current

and former employees, counsel, agents, consultants, representatives, and any other persons acting

on behalf of any of the foregoing, and DONAHUE’s affiliates, parents, divisions, joint ventures,

licensees, franchisees, assigns, predecessors and successors in interest, and any other legal

entities, whether foreign or domestic, that are owned or controlled by DONAHUE, and all




ATTACHMENT A                                     3
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 10 of 60




predecessors and successors in interest, and any entity owned in whole or in part by, affiliated

with, or controlled in whole or in part by DONAHUE.

       11.     “LEVINE” means Levine & Baker LLP, and its officers, directors, current and

former employees, counsel, agents, consultants, representatives, and any other persons acting on

behalf of any of the foregoing, and LEVINE’s affiliates, parents, divisions, joint ventures,

licensees, franchisees, assigns, predecessors and successors in interest, and any other legal

entities, whether foreign or domestic, that are owned or controlled by LEVINE, and all

predecessors and successors in interest, and any entity owned in whole or in part by, affiliated

with, or controlled in whole or in part by LEVINE.

       12.     “ODIN WAVE” means Odin Wave, LLC and its officers, directors, current and

former employees, counsel, agents, consultants, representatives, and any other persons acting on

behalf of any of the foregoing, and ODIN WAVE’s affiliates, parents, divisions, joint ventures,

licensees, franchisees, assigns, predecessors and successors in interest, and any other legal

entities, whether foreign or domestic, that are owned or controlled by ODIN WAVE, and all

predecessors and successors in interest, and any entity owned in whole or in part by, affiliated

with, or controlled in whole or in part by ODIN WAVE.

       13.     “TYTO” means Tyto Lidar LLC, and its officers, directors, current and former

employees, counsel, agents, consultants, representatives, and any other persons acting on behalf

of any of the foregoing, and TYTO’s affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors and successors in interest, and any other legal entities, whether

foreign or domestic, that are owned or controlled by TYTO, and all predecessors and successors

in interest, and any entity owned in whole or in part by, affiliated with, or controlled in whole or

in part by TYTO.




ATTACHMENT A                                     4
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 11 of 60




       14.     “POUCH HOLDINGS” means Pouch Holdings LLC, and its officers, directors,

current and former employees, counsel, agents, consultants, representatives, and any other

persons acting on behalf of any of the foregoing, and POUCH HOLDING’s affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

and any other legal entities, whether foreign or domestic, that are owned or controlled by

POUCH HOLDINGS, and all predecessors and successors in interest, and any entity owned in

whole or in part by, affiliated with, or controlled in whole or in part by POUCH HOLDINGS.

       15.     “DOGWOOD LEASING” means Dogwood Leasing, LLC, and its officers,

directors, current and former employees, counsel, agents, consultants, representatives, and any

other persons acting on behalf of any of the foregoing, and DOGWOOD LEASING’s affiliates,

parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

interest, and any other legal entities, whether foreign or domestic, that are owned or controlled

by DOGWOOD LEASING, and all predecessors and successors in interest, and any entity

owned in whole or in part by, affiliated with, or controlled in whole or in part by DOGWOOD

LEASING.

       16.     “APPARATE INTERNATIONAL” means Apparate International C.V. and its

officers, directors, current and former employees, counsel, agents, consultants, representatives,

and any other persons acting on behalf of any of the foregoing, and APPARATE

INTERNATIONAL’s affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, and any other legal entities, whether foreign or domestic,

that are owned or controlled by APPARATE INTERNATIONAL, and all predecessors and

successors in interest, and any entity owned in whole or in part by, affiliated with, or controlled

in whole or in part by APPARATE INTERNATIONAL.




ATTACHMENT A                                     5
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 12 of 60




       17.    “MISAPPROPRIATED MATERIALS” refers to all GOOGLE and WAYMO

DOCUMENTS and materials, whether digital or physical, and regardless of the manner stored,

for which LEVANDOWSKI retained possession, without authorization of either GOOGLE or

WAYMO, after LEVANDOWSKI’s employment with GOOGLE/WAYMO ended. Without

limitation, MISAPPROPRIATED MATERIALS includes at least: (i) each of the more than

14,000 digital files downloaded by LEVANDOWSKI on or about December 11, 2015 from the

SVN repository; (ii) each file copied by LEVANDOWSKI from his GOOGLE laptop to an

RDF5 USB 3.0 card reader on or about December 14, 2015; (iii) each of the five documents that

were exported by LEVANDOWSKI from Google Drive to a personal device on or about January

4, 2016; and (iv) the file exported by LEVANDOWSKI from Google Drive to a personal device

on or about January 11, 2016

       18.    “DUE DILIGENCE REPORT” refers to the August 5, 2016 due diligence report

(referenced in the May 8, 2017 Declaration of Eric M. Friedberg in Support of Defendants’

Opposition to Waymo’s Motion to Compel, attached hereto as Exhibit A), including all exhibits,

attachments, and appendices thereto.

       19.    “DOCUMENTS” shall INCLUDE, without limitation, all written, graphic or

otherwise recorded material, INCLUDING without limitation, electronically stored information

regardless of the form of storage medium, microfilms or other film records or impressions, tape

recordings or computer cards, floppy disks or printouts, any and all papers, photographs, films,

recordings, memoranda, books, records, accounts, communications, letters, telegrams,

correspondence, notes of meetings, notes of conversations, notes of telephone calls, inter-office

memoranda or written communications of any nature, recordings of conversations either in

writings or upon any mechanical or electrical recording devices, INCLUDING e-mail, notes,




ATTACHMENT A                                   6
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 13 of 60




papers, reports, analyses, invoices, canceled checks or check stubs, receipts, minutes of

meetings, time sheets, diaries, desk calendars, ledgers, schedules, licenses, financial statements,

telephone bills, logs, and any differing versions of any of the foregoing, whether so denominated,

formal, informal or otherwise, as well as copies of the foregoing which differ in any way,

INCLUDING by the addition of handwritten notations or other written or printed matter of any

nature, from the original.    The foregoing specifically INCLUDES information stored in a

computer database and capable of being generated in documentary form, such as electronic mail,

text messages (i.e., SMS messages), other electronic messages including messages sent or

received via Slack, WhatsApp, Google Hangouts, Facebook Messenger, and the like.

       20.     “COMMUNICATIONS” shall mean, without limitation, any transmission,

conveyance or exchange of a word, statement, fact, thing, idea, DOCUMENT, instruction,

information, demand or question by any medium, whether by written, oral or other means,

including but not limited to, electronic communications and electronic mail (“e-mail”).

       21.     “REGARDING,” shall mean relating to, referring to, mentioning, reflecting,

pertaining to, evidencing, involving, describing, discussing, commenting on, embodying,

responding to, supporting, contradicting, or constituting (in whole or in part), as the context

makes appropriate.

       22.     “INCLUDE” and “INCLUDING” shall mean including without limitation.

       23.     Use of the singular also INCLUDES the plural and vice-versa.

       24.     The words “or” and “and” shall be read in the conjunctive and in the disjunctive

wherever they appear, and neither of these words shall be interpreted to limit the scope of these

Requests for Production.




ATTACHMENT A                                    7
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 14 of 60




          25.    The use of a verb in any tense shall be construed as the use of the verb in all other

tenses.

                                         INSTRUCTIONS

          The following instructions shall apply to each of the Document Requests herein:

          1.     In answering the following Document Requests, furnish all available information,

INCLUDING information in the possession, custody, or control of YOU or any of YOUR

attorneys, directors, officers, agents, employees, representatives, associates, investigators or

division affiliates, partnerships, parents or subsidiaries, and persons under YOUR control, who

have the best knowledge, not merely information known to YOU based on YOUR own personal

knowledge. If you cannot fully respond to the following Document Requests after exercising

due diligence to secure the information requested thereby, so state, and specify the portion of

each Document Request that cannot be responded to fully and completely. In the latter event,

state what efforts were made to obtain the requested information and the facts relied upon that

support the contention that the Document Request cannot be answered fully and completely; and

state what knowledge, information or belief YOU has concerning the unanswered portion of any

such Document Requests.

          2.     Electronic records and computerized information must be produced in an

intelligible format.

          3.     Selection of documents from the files and other sources and the numbering of

such documents shall be performed in such a manner as to ensure that the source of each

document may be determined, if necessary.

          4.     File folders with tabs or labels or directories of files identifying documents must

be produced intact with such documents.




ATTACHMENT A                                       8
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 15 of 60




       5.      Documents attached to each other shall not be separated.

       6.      If YOUR response to a particular Document Request is a statement that YOU lack

the ability to comply with that Document Request, YOU must specify whether the inability to

comply is because the particular item or category of information never existed, has been

destroyed, has been lost, misplaced, or stolen, or has never been, or is no longer, in YOUR

possession, custody, or control, in which case the name and address of any person or entity

known or believed by you to have possession, custody, or control of that information or category

of information must be identified.

       7.      If YOUR response to a particular Document Request is a statement that the

requested documents have been deleted, YOU must state the extent of such deletion and produce

all documents bearing on said deletion, destruction, or modification.

       8.      If any DOCUMENT(S) or COMMUNICATION(S) are considered “confidential”

by YOU, such DOCUMENT(S) or COMMUNICATION(S) should be produced subject to the

terms and provisions of the Northern District of California’s Patent Local Rule 2-2 Interim

Model Protective Order, available at http://www.cand.uscourts.gov/model-protective-orders.

       9.      YOUR obligation to respond to these Document Requests is continuing and its

responses are to be supplemented to INCLUDE subsequently acquired information in accordance

with the requirements of Rule 26(e) of the Federal Rules of Civil Procedure.




ATTACHMENT A                                    9
     Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 16 of 60




                     DOCUMENTS TO BE PRODUCED AND INSPECTED

REQUEST FOR PRODUCTION NO. 1:

       All agreements between YOU and any DEFENDANT.

REQUEST FOR PRODUCTION NO. 2:

       All agreements between YOU and LEVANDOWSKI.

REQUEST FOR PRODUCTION NO. 3:

       All agreements between YOU and any PERSON REGARDING LEVANDOWSKI, Lior

Ron, the DUE DILIGENCE REPORT (or the subject matter discussed therein), OTTO

TRUCKING, OTTOMOTTO, or the MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 4:

       The “agreement with Donahue, whereby Stroz agreed to keep confidential all information

learned from Mr. Levandowski during the course of its investigation unless Mr. Levandowski

consented to sharing that information with any person” (referenced in paragraph 7 of the May 8,

2017 Declaration of Eric M. Friedberg in Support of Defendants’ Opposition to Waymo’s

Motion to Compel, attached hereto as Exhibit A).

REQUEST FOR PRODUCTION NO. 5:

       The “engagement letter” through which “Stroz was jointly engaged by Morrison &

Foerster (‘MoFo’), on behalf of its client Uber Technologies LLC (‘Uber’), and O’Melveny &

Meyers LLP (‘OMM’), on behalf of its client Ottomotto LLC (‘Ottomotto’)” (referenced in

paragraph 3 of the May 8, 2017 Declaration of Eric M. Friedberg in Support of Defendants’

Opposition to Waymo’s Motion to Compel, attached hereto as Exhibit A), and all attachments,

exhibits, appendices, and amendments to the engagement letter.




ATTACHMENT A                                  10
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 17 of 60




REQUEST FOR PRODUCTION NO. 6:

        The August 5, 2016 due diligence report (referenced in the May 8, 2017 Declaration of

Eric M. Friedberg in Support of Defendants’ Opposition to Waymo’s Motion to Compel,

attached hereto as Exhibit A), including all exhibits, attachments, and appendices thereto.

REQUEST FOR PRODUCTION NO. 7:

        All reports or analyses prepared by YOU for any DEFENDANT REGARDING

LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed

therein),   OTTO      TRUCKING,         OTTOMOTTO,          GOOGLE,        WAYMO,         or   the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 8:

        All reports or analyses prepared by YOU for LEVANDOWSKI.

REQUEST FOR PRODUCTION NO. 9:

        All DOCUMENTS provided to YOU by DEFENDANTS, LEVANDOWSKI, Lior Ron,

or the “three other employees who participated in the Stroz Investigation review process”

(referenced in paragraph 11 of the May 8, 2017 Declaration of John F. Gardner in Support of

Defendants’ Opposition to Waymo’s Motion to Compel Production of Withheld Documents,

attached hereto as Exhibit B), REGARDING LEVANDOWSKI¸ Lior Ron, OTTO TRUCKING,

OTTOMOTTO, GOOGLE, WAYMO, or the MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 10:

        DOCUMENTS sufficient to show the identity of the “three other employees who

participated in the Stroz Investigation review process” (referenced in paragraph 11 of the May 8,

2017 Declaration of John F. Gardner in Support of Defendants’ Opposition to Waymo’s Motion

to Compel Production of Withheld Documents, attached hereto as Exhibit B).




ATTACHMENT A                                    11
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 18 of 60




REQUEST FOR PRODUCTION NO. 11:

       All DOCUMENTS and COMMUNICATIONS REGARDING the purported “joint

defense and common interest agreement” (referenced in paragraph 5 of the May 8, 2017

Declaration of Eric M. Friedberg in Support of Defendants’ Opposition to Waymo’s Motion to

Compel, attached hereto as Exhibit A).

REQUEST FOR PRODUCTION NO. 12:

       The forensic data underlying the “forensic analysis” YOU did in connection with the

August 5, 2016 due diligence report (referenced in Entry Nos. 7, 8, 9, 10 and 17 of Defendants’

Privilege Log Associated with March 31, 2017 Production of Documents, attached hereto as

Exhibit C).

REQUEST FOR PRODUCTION NO. 13:

       All DOCUMENTS and COMMUNICATIONS REGARDING the “forensic analysis”

YOU did in connection with the August 5, 2016 due diligence report (referenced in Entry Nos. 7,

8, 9, 10 and 17 of Defendants’ Privilege Log Associated with March 31, 2017 Production of

Documents, attached hereto as Exhibit C).

REQUEST FOR PRODUCTION NO. 14:

       All DOCUMENTS and COMMUNICATIONS REGARDING the “directives from

MoFo and OMM regarding what topics to investigate and how Stroz should investigate those

topics” that “MoFo provided … to Stroz” (referenced in paragraph 4 of the May 8, 2017

Declaration of Eric M. Friedberg in Support of Defendants’ Opposition to Waymo’s Motion to

Compel, attached hereto as Exhibit A).




ATTACHMENT A                                  12
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 19 of 60




REQUEST FOR PRODUCTION NO. 15:

        All COMMUNICATIONS between YOU and any DEFENDANT REGARDING

LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed

therein),     OTTO   TRUCKING,   OTTOMOTTO,       GOOGLE,        WAYMO,   or   the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 16:

        All COMMUNICATIONS between YOU and LEVANDOWSKI REGARDING

LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed

therein),     OTTO   TRUCKING,   OTTOMOTTO,       GOOGLE,        WAYMO,   or   the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 17:

        All    COMMUNICATIONS    between    YOU    and    Lior   Ron   REGARDING

LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed

therein),     OTTO   TRUCKING,   OTTOMOTTO,       GOOGLE,        WAYMO,   or   the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 18:

        All   COMMUNICATIONS     between    YOU   and    MORRISON      REGARDING

LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed

therein),     OTTO   TRUCKING,   OTTOMOTTO,       GOOGLE,        WAYMO,   or   the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 19:

        All   COMMUNICATIONS     between    YOU   and    O’MELVENY     REGARDING

LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed




ATTACHMENT A                           13
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 20 of 60




therein),     OTTO   TRUCKING,   OTTOMOTTO,       GOOGLE,    WAYMO,     or   the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 20:

        All    COMMUNICATIONS    between    YOU   and    DONAHUE   REGARDING

LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed

therein),     OTTO   TRUCKING,   OTTOMOTTO,       GOOGLE,    WAYMO,     or   the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 21:

        All    COMMUNICATIONS     between   YOU    and    LEVINE   REGARDING

LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed

therein),     OTTO   TRUCKING,   OTTOMOTTO,       GOOGLE,    WAYMO,     or   the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 22:

        All COMMUNICATIONS between YOU and Fenwick & West LLP and/or Ted Wang

REGARDING LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject

matter discussed therein), OTTO TRUCKING, OTTOMOTTO, GOOGLE, WAYMO, or the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 23:

        All COMMUNICATIONS between YOU and Ognen Stojanovski REGARDING

LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed

therein),     OTTO   TRUCKING,   OTTOMOTTO,       GOOGLE,    WAYMO,     or   the

MISAPPROPRIATED MATERIALS.




ATTACHMENT A                           14
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 21 of 60




REQUEST FOR PRODUCTION NO. 24:

        All   COMMUNICATIONS     between    YOU   and   Doug Mandell   REGARDING

LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed

therein),     OTTO   TRUCKING,   OTTOMOTTO,        GOOGLE,     WAYMO,     or   the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 25:

        All COMMUNICATIONS between YOU and Maureen Dorney REGARDING

LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed

therein),     OTTO   TRUCKING,   OTTOMOTTO,        GOOGLE,     WAYMO,     or   the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 26:

        All COMMUNICATIONS between YOU and GCA Law Partners LLP REGARDING

LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed

therein),     OTTO   TRUCKING,   OTTOMOTTO,        GOOGLE,     WAYMO,     or   the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 27:

        All COMMUNICATIONS between YOU and TYTO and/or ODIN WAVE,

REGARDING LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject

matter discussed therein), OTTO TRUCKING, OTTOMOTTO, GOOGLE, WAYMO, or the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 28:

        All COMMUNICATIONS between YOU, on the one hand, and POUCH HOLDINGS,

DOGWOOD LEASING, and/or APPARATE INTERNATIONAL, on the other, REGARDING




ATTACHMENT A                               15
      Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 22 of 60




LEVANDOWSKI, Lior Ron, the DUE DILIGENCE REPORT (or the subject matter discussed

therein),   OTTO     TRUCKING,           OTTOMOTTO,     GOOGLE,       WAYMO,         or   the

MISAPPROPRIATED MATERIALS.

REQUEST FOR PRODUCTION NO. 29:

        All invoices submitted to any DEFENDANT in connection with the March 4

Engagement Letter (Exhibit 3 to the May 8, 2017 Declaration of Eric A. Tate in Support of

Defendants’ Opposition to Waymo’s Motion to Compel, attached hereto as Exhibit D).

REQUEST FOR PRODUCTION NO. 30:

        Any “original materials provided by Client or Uber or Ottomotto, to Stroz Friedberg”

(referenced in Exhibit 3 to the May 8, 2017 Declaration of Eric A. Tate in Support of

Defendants’ Opposition to Waymo’s Motion to Compel, attached hereto as Exhibit D).

REQUEST FOR PRODUCTION NO. 31:

        DOCUMENTS sufficient to show any “original materials provided by Client or Uber or

Ottomotto, to Stroz Friedberg” that were destroyed by YOU pursuant to the “Return of Client

Materials” provision on page 4 of the March 4 Engagement Letter (Exhibit 3 to the May 8, 2017

Declaration of Eric A. Tate in Support of Defendants’ Opposition to Waymo’s Motion to

Compel, attached hereto as Exhibit D).




ATTACHMENT A                                 16
Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 23 of 60




                  EXHIBIT A
     Case 3:17-cv-00939-WHA
       Case 3:17-cv-00939-WHADocument 570-1
                               Document 380 Filed
                                            Filed 06/08/17
                                                  05/08/17 Page
                                                           Page 24
                                                                1 ofof460



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13   Attorneys for Defendants
     UBER TECHNOLOGIES, INC.
14   and OTTOMOTTO LLC

15                                UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                      SAN FRANCISCO DIVISION
18   WAYMO LLC,                                            Case No.      3:17-cv-00939-WHA
19                         Plaintiff,                      DECLARATION OF ERIC M.
                                                           FRIEDBERG IN SUPPORT OF
20          v.                                             DEFENDANTS’ OPPOSITION TO
                                                           WAYMO’S MOTION TO COMPEL
21   UBER TECHNOLOGIES, INC.,
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                     Date:    June 8, 2017
22                                                         Time:    10:00 a.m.
                           Defendants.                     Ctrm:    F, 15th Floor
23                                                         Judge:   Hon. Jacqueline Scott Corley
24                                                         Trial Date: October 2, 2017
25

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     FRIEDBERG DECL. ISO DEFTS’ OPPOSITION TO WAYMO’S MOTION TO COMPEL
     Case No. 3:17-cv-00939-WHA
     Sf-3759437
Case 3:17-cv-00939-WHA
  Case 3:17-cv-00939-WHADocument 570-1
                          Document 380 Filed
                                       Filed 06/08/17
                                             05/08/17 Page
                                                      Page 25
                                                           2 ofof460
Case 3:17-cv-00939-WHA
  Case 3:17-cv-00939-WHADocument 570-1
                          Document 380 Filed
                                       Filed 06/08/17
                                             05/08/17 Page
                                                      Page 26
                                                           3 ofof460
Case 3:17-cv-00939-WHA
  Case 3:17-cv-00939-WHADocument 570-1
                          Document 380 Filed
                                       Filed 06/08/17
                                             05/08/17 Page
                                                      Page 27
                                                           4 ofof460
Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 28 of 60




                  EXHIBIT B
     Case 3:17-cv-00939-WHA
       Case 3:17-cv-00939-WHADocument 570-1
                               Document 381 Filed
                                            Filed 06/08/17
                                                  05/08/17 Page
                                                           Page 29
                                                                1 ofof460



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13   Attorneys for Defendants
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14   and OTTOMOTTO LLC

15                                UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                      SAN FRANCISCO DIVISION
18   WAYMO LLC,                                           Case No.        3:17-cv-00939-WHA
19                         Plaintiff,                     DECLARATION OF JOHN F.
                                                          GARDNER IN SUPPORT OF
20          v.                                            DEFENDANTS’ OPPOSITION TO
                                                          WAYMO’S MOTION TO COMPEL
21   UBER TECHNOLOGIES, INC.,                             PRODUCTION OF WITHHELD
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    DOCUMENTS
22
                           Defendants.                    Date:      June 8, 2017
23                                                        Time:      10:00 a.m.
                                                          Ctrm:      F, 15th Floor
24                                                        Judge:     Hon. Jacqueline Scott Corley
25                                                        Trial Date: October 2, 2017
26

27
28

     GARDNER DECLARATION ISO DEFTS’ OPPOSITION TO MOTION TO COMPEL
     Case No. 3:17-cv-00939-WHA
Case 3:17-cv-00939-WHA
  Case 3:17-cv-00939-WHADocument 570-1
                          Document 381 Filed
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                                             05/08/17 Page
                                                      Page 30
                                                           2 ofof460
Case 3:17-cv-00939-WHA
  Case 3:17-cv-00939-WHADocument 570-1
                          Document 381 Filed
                                       Filed 06/08/17
                                             05/08/17 Page
                                                      Page 31
                                                           3 ofof460
Case 3:17-cv-00939-WHA
  Case 3:17-cv-00939-WHADocument 570-1
                          Document 381 Filed
                                       Filed 06/08/17
                                             05/08/17 Page
                                                      Page 32
                                                           4 ofof460
Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 33 of 60




                  EXHIBIT C
                                                                       Case
                                                                       Case3:17-cv-00939-WHA
                                                                            3:17-cv-00939-WHA Document
                                                                                              Document570-1
                                                                                                       370-4 Filed
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                                                                                                                   05/08/17 Page
                                                                                                                            Page34  of18
                                                                                                                                 2 of  60

Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
Defendants’ Privilege Log Associated with March 31, 2017 Production of Documents

                                                                                                             NATURE       LOCATION
                                                                      DATE                                                                                                   AFFIRMATION OF STEPS TAKEN TO ENSURE
    INDEX     AUTHOR(S) OF                                                                                      OF         WHERE       BASIS FOR UBER’S ASSERTION OF
                                  RECIPIENT(S) OF DOCUMENT1          OF DOC-       SUBJECT MATTER                                                                            CONFIDENTIALITY AND NON-RECEIPT BY
    NO.*,**    DOCUMENT                                                                                       PRIV-       DOCUMENT     PRIVILEGE
                                                                     UMENT                                                                                                   UNAUTHORIZED PERSONS
                                                                                                              ILEGE       WAS FOUND
                                                                                                                                                                             Uber affirms that to its knowledge no
                                                                                                                                                                             unauthorized persons have received the
                                                                                                                                                                             Investigation Report. Specifically, to Uber’s
                                                                                                                                                                             knowledge the only recipients of this
                                                                                                                                                                             document are the original recipients—those
                                                                                                                                                                             listed in the Recipient(s) column—and Uber’s
                                 Morrison & Foerster LLP (outside               Summary Report by                                                                            in-house counsel, Ottomotto’s in-house
                                                                                                                                       Investigation report prepared at
                                         counsel for Uber)                      Stroz Friedberg, LLC                                                                         counsel, and Outside Counsel of Record in
                                                                                                                                       direction of counsel for Uber for
                                 O’Melveny & Myers LLP (outside                 (“Investigation Report”)                                                                     this litigation. Pursuant to a common interest
                                                                                                                           Uber In-    purposes of providing legal advice
              Stroz Friedberg,           counsel for Otto)            August    Regarding Investigation      AC /                                                            agreement dated April 11, 2016 and entered
       1                                                                                                                    House      to Uber, in anticipation of
                    LLC          Donahue Fitzgerald LLP (outside      5, 2016   Relating to Acquisition      WP/JI2                                                          into by counsel for Uber, counsel for
                                                                                                                           Counsel     litigation, re: due diligence in
                                    counsel for Levandowski)                    of Ottomotto by Uber                                                                         Ottomotto, counsel for A. Levandowski, and
                                                                                                                                       connection with potential
                                   Levine & Baker LLP (outside                  (the “Due Diligence                                                                          counsel for Lior Ron, the recipients of the
                                                                                                                                       acquisition of Ottomotto.
                                       counsel for Lior Ron)                    Investigation”).                                                                             Investigation Report (including its
                                                                                                                                                                             attachments) were contractually obligated to
                                                                                                                                                                             not disclose it to any other persons except for
                                                                                                                                                                             in-house counsel for Uber, in-house counsel
                                                                                                                                                                             for Ottomotto, outside counsel for those
                                                                                                                                                                             entities, outside counsel for A. Levandowski,
                                                                                                                                                                             and outside counsel for Lior Ron.
                                                                                                                                       Attachment to Investigation
                                 Morrison & Foerster LLP (outside
                                                                                                                                       Report. Memorandum prepared as
                                         counsel for Uber)                    Attachment to
                                                                                                                                       part of investigation conducted at
                                 O’Melveny & Myers LLP (outside               Investigation Report.
                                                                                                                           Uber In-    direction of counsel for Uber for
              Stroz Friedberg,           counsel for Otto)            March Memorandum regarding              AC /
       2                                                                                                                    House      purposes of providing legal advice    [same as Index No. 1]
                    LLC          Donahue Fitzgerald LLP (outside     21, 2016 investigation protocol for      WP/JI
                                                                                                                           Counsel     to Uber, in anticipation of
                                    counsel for Levandowski)                  the Due Diligence
                                                                                                                                       litigation, re: due diligence in
                                   Levine & Baker LLP (outside                Investigation.
                                                                                                                                       connection with potential
                                       counsel for Lior Ron)
                                                                                                                                       acquisition of Ottomotto.




1
    Individuals from each entity identified as an author or recipient are listed on page 17, as are recipients from Uber and Otto.
2
    The invocation of the privileges on this log are pursuant to the “Joint Defense, Common Interest, and Confidentiality Agreement” filed with the Court with Anthony Levandowski’s motion, filed on April 4, 2017.


*With respect to memoranda/reports marked with a single asterisk, the reports themselves (which, on their own, constitute work product) are undated. The date of the report/memorandum listed in this log is the date of the
Investigation Report.

**With respect to documents marked with two asterisks, the date of the document in this log is listed as the date of the Investigation Report, as it is the selection for and inclusion in that report that forms the basis for the
assertion of work product privilege. The author of these documents is listed as Stroz Friedberg, LLC because it is the entity who selected the documents for inclusion in the Investigation Report. The author of the underlying
communication(s)/document(s) is not listed in this privilege log because doing so would reveal the work product over which privilege is being asserted.

                                                                                                           Page 1 of 17
                                                                      Case
                                                                      Case3:17-cv-00939-WHA
                                                                           3:17-cv-00939-WHA Document
                                                                                             Document570-1
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                                                                                                                  05/08/17 Page
                                                                                                                           Page35  of18
                                                                                                                                3 of  60

Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
Defendants’ Privilege Log Associated with March 31, 2017 Production of Documents

                                                                                                               NATURE       LOCATION
                                                                     DATE                                                                                                    AFFIRMATION OF STEPS TAKEN TO ENSURE
 INDEX      AUTHOR(S) OF                                                                                          OF         WHERE      BASIS FOR UBER’S ASSERTION OF
                                RECIPIENT(S) OF DOCUMENT1           OF DOC-        SUBJECT MATTER                                                                            CONFIDENTIALITY AND NON-RECEIPT BY
 NO.*,**     DOCUMENT                                                                                           PRIV-       DOCUMENT    PRIVILEGE
                                                                    UMENT                                                                                                    UNAUTHORIZED PERSONS
                                                                                                                ILEGE       WAS FOUND


                                                                                                                                        Attachment to Investigation
                                       Stroz Friedberg                       Correspondence between                                     Report. Correspondence relating
                              Morrison & Foerster LLP (outside               Stroz Friedberg, LLC and                                   to investigation conducted at
            John Gardner,             counsel for Uber)                      attorney for A.                                 Uber In-   direction of counsel for Uber for
                                                                     March                                      AC /                                                         [same as Index No. 1]
    3          Donahue        O’Melveny & Myers LLP (outside                 Levandowski regarding                            House     purposes of providing legal advice
                                                                    21, 2016                                    WP/JI
            Fitzgerald LLP            counsel for Otto)                      investigation protocol for                      Counsel    to Uber, in anticipation of
                                Levine & Baker LLP (outside                  the Due Diligence                                          litigation, re: due diligence in
                                    counsel for Lior Ron)                    Investigation.                                             connection with potential
                                                                                                                                        acquisition of Ottomotto.

                                                                                Correspondence
                                                                                                                                        Attachment to Investigation
                              Morrison & Foerster LLP (outside                  regarding engagement of
                                                                                                                                        Report. Correspondence relating
                                      counsel for Uber)                         Stroz Friedberg, LLC for
                                                                                                                                        to investigation conducted at
                              O’Melveny & Myers LLP (outside                    purposes of conducting
                                                                                                                             Uber In-   direction of counsel for Uber for
           Stroz Friedberg,           counsel for Otto)              March      the Due Diligence               AC /                                                         [same as Index No. 1]
    4                                                                                                                         House     purposes of providing legal advice
                 LLC          Donahue Fitzgerald LLP (outside        4, 2016    Investigation and               WP/JI
                                                                                                                             Counsel    to Uber, in anticipation of
                                 counsel for Levandowski)                       memorandum regarding
                                                                                                                                        litigation, re: due diligence in
                                Levine & Baker LLP (outside                     investigation protocol for
                                                                                                                                        connection with potential
                                    counsel for Lior Ron)                       the Due Diligence
                                                                                                                                        acquisition of Ottomotto.
                                                                                Investigation.



                                                                                                                                        Attachment to Investigation
                              Morrison & Foerster LLP (outside
                                                                                                                                        Report. Memorandum prepared as
                                      counsel for Uber)                         Memorandum regarding
                                                                                                                                        part of investigation conducted at
                              O’Melveny & Myers LLP (outside                    analysis of information
                                                                                                                             Uber In-   direction of counsel for Uber for
           Stroz Friedberg,           counsel for Otto)              April 2,   ascertained from A.             AC /                                                         [same as Index No. 1]
    5                                                                                                                         House     purposes of providing legal advice
                 LLC          Donahue Fitzgerald LLP (outside         2016      Levandowski during the          WP/JI
                                                                                                                             Counsel    to Uber, in anticipation of
                                 counsel for Levandowski)                       Due Diligence
                                                                                                                                        litigation, re: due diligence in
                                Levine & Baker LLP (outside                     Investigation.
                                                                                                                                        connection with potential
                                    counsel for Lior Ron)
                                                                                                                                        acquisition of Ottomotto.




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                                                                                                             Page 2 of 17
                                                                      Case
                                                                      Case3:17-cv-00939-WHA
                                                                           3:17-cv-00939-WHA Document
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                                                                                                                  05/08/17 Page
                                                                                                                           Page36  of18
                                                                                                                                4 of  60

Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
Defendants’ Privilege Log Associated with March 31, 2017 Production of Documents

                                                                                                            NATURE       LOCATION
                                                                     DATE                                                                                                      AFFIRMATION OF STEPS TAKEN TO ENSURE
 INDEX      AUTHOR(S) OF                                                                                       OF         WHERE        BASIS FOR UBER’S ASSERTION OF
                                RECIPIENT(S) OF DOCUMENT1           OF DOC-        SUBJECT MATTER                                                                              CONFIDENTIALITY AND NON-RECEIPT BY
 NO.*,**     DOCUMENT                                                                                        PRIV-       DOCUMENT      PRIVILEGE
                                                                    UMENT                                                                                                      UNAUTHORIZED PERSONS
                                                                                                             ILEGE       WAS FOUND


                                                                                                                                       Attachment to Investigation
                              Morrison & Foerster LLP (outside
                                                                                                                                       Report. Memorandum prepared as
                                      counsel for Uber)
                                                                             Memorandum regarding                                      part of investigation conducted at
                              O’Melveny & Myers LLP (outside
                                                                             analysis of information                      Uber In-     direction of counsel for Uber for
           Stroz Friedberg,           counsel for Otto)              April                                   AC /                                                              [same as Index No. 1]
    6                                                                        ascertained from L. Ron                       House       purposes of providing legal advice
                 LLC          Donahue Fitzgerald LLP (outside       12, 2016                                 WP/JI
                                                                             during Due Diligence                         Counsel      to Uber, in anticipation of
                                 counsel for Levandowski)
                                                                             Investigation.                                            litigation, re: due diligence in
                                Levine & Baker LLP (outside
                                                                                                                                       connection with potential
                                    counsel for Lior Ron)
                                                                                                                                       acquisition of Ottomotto.

                                                                                                                                       Attachment to Investigation
                                                                                                                                       Report. Report of forensic analysis
                              Morrison & Foerster LLP (outside
                                                                                Report generated during                                prepared as part of investigation
                                      counsel for Uber)
                                                                                Due Diligence                                          conducted at direction of counsel
                              O’Melveny & Myers LLP (outside
                                                                                Investigation                             Uber In-     for Uber for purposes of providing
           Stroz Friedberg,           counsel for Otto)              August                                                                                                    [same as Index No. 1]
   7*                                                                           summarizing analysis of      WP/JI         House       legal advice to Uber, in
                 LLC          Donahue Fitzgerald LLP (outside        5, 2016
                                                                                electronic media                          Counsel      anticipation of litigation, re: due
                                 counsel for Levandowski)
                                                                                collected from A.                                      diligence in connection with
                                Levine & Baker LLP (outside
                                                                                Levandowski.                                           potential acquisition of Ottomotto
                                    counsel for Lior Ron)
                                                                                                                                       in anticipation of potential
                                                                                                                                       litigation.
                                                                                                                                       Attachment to Investigation
                                                                                                                                       Report. Report of forensic
                              Morrison & Foerster LLP (outside
                                                                                Report generated during                                analysis prepared as part of
                                      counsel for Uber)
                                                                                Due Diligence                                          investigation conducted at
                              O’Melveny & Myers LLP (outside
                                                                                Investigation                             Uber In-     direction of counsel for Uber for
           Stroz Friedberg,           counsel for Otto)              August                                                                                                    [same as Index No. 1]
   8*                                                                           summarizing analysis of      WP/JI         House       purposes of providing legal advice
                 LLC          Donahue Fitzgerald LLP (outside        5, 2016
                                                                                electronic media                          Counsel      to Uber, in anticipation of
                                 counsel for Levandowski)
                                                                                collected from A.                                      litigation, re: due diligence in
                                Levine & Baker LLP (outside
                                                                                Levandowski.                                           connection with potential
                                    counsel for Lior Ron)
                                                                                                                                       acquisition of Ottomotto in
                                                                                                                                       anticipation of potential litigation.




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                                                                                                          Page 3 of 17
                                                                      Case
                                                                      Case3:17-cv-00939-WHA
                                                                           3:17-cv-00939-WHA Document
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                                                                                                      370-4 Filed
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                                                                                                                  05/08/17 Page
                                                                                                                           Page37  of18
                                                                                                                                5 of  60

Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
Defendants’ Privilege Log Associated with March 31, 2017 Production of Documents

                                                                                                             NATURE       LOCATION
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 NO.*,**     DOCUMENT                                                                                         PRIV-       DOCUMENT     PRIVILEGE
                                                                    UMENT                                                                                                      UNAUTHORIZED PERSONS
                                                                                                              ILEGE       WAS FOUND


                                                                                                                                       Attachment to Investigation
                                                                                                                                       Report. Report of forensic
                              Morrison & Foerster LLP (outside
                                                                                Report generated during                                analysis prepared as part of
                               counsel for Uber)O’Melveny &
                                                                                Due Diligence                                          investigation conducted at
                               Myers LLP (outside counsel for
                                                                                Investigation                              Uber In-    direction of counsel for Uber for
           Stroz Friedberg,     Otto)Donahue Fitzgerald LLP          August                                                                                                    [same as Index No. 1]
   9*                                                                           summarizing analysis of       WP/JI         House      purposes of providing legal advice
                 LLC                 (outside counsel for            5, 2016
                                                                                electronic media                           Counsel     to Uber, in anticipation of
                                Levandowski)Levine & Baker
                                                                                collected from A.                                      litigation, re: due diligence in
                                LLP (outside counsel for Lior
                                                                                Levandowski.                                           connection with potential
                                            Ron)
                                                                                                                                       acquisition of Ottomotto in
                                                                                                                                       anticipation of potential litigation.

                                                                                                                                       Attachment to Investigation
                                                                                                                                       Report. Report of forensic
                              Morrison & Foerster LLP (outside
                                                                                Report generated during                                analysis prepared as part of
                                      counsel for Uber)
                                                                                Due Diligence                                          investigation conducted at
                              O’Melveny & Myers LLP (outside
                                                                                Investigation                              Uber In-    direction of counsel for Uber for
           Stroz Friedberg,           counsel for Otto)              August                                                                                                    [same as Index No. 1]
   10*                                                                          summarizing analysis of       WP/JI         House      purposes of providing legal advice
                 LLC          Donahue Fitzgerald LLP (outside        5, 2016
                                                                                electronic media                           Counsel     to Uber, in anticipation of
                                 counsel for Levandowski)
                                                                                collected from A.                                      litigation, re: due diligence in
                                Levine & Baker LLP (outside
                                                                                Levandowski.                                           connection with potential
                                    counsel for Lior Ron)
                                                                                                                                       acquisition of Ottomotto in
                                                                                                                                       anticipation of potential litigation.
                                                                                                                                       Attachment to Investigation
                              Morrison & Foerster LLP (outside
                                                                                                                                       Report. Memorandum prepared as
                                      counsel for Uber)
                                                                                                                                       part of investigation conducted at
                              O’Melveny & Myers LLP (outside                    Memorandum regarding
                                                                                                                           Uber In-    direction of counsel for Uber for
           Stroz Friedberg,           counsel for Otto)              July 28,   investigation                 AC /                                                             [same as Index No. 1]
   11                                                                                                                       House      purposes of providing legal advice
                 LLC          Donahue Fitzgerald LLP (outside         2016      methodology for Due           WP/JI
                                                                                                                           Counsel     to Uber, in anticipation of
                                 counsel for Levandowski)                       Diligence Investigation.
                                                                                                                                       litigation, re: due diligence in
                                Levine & Baker LLP (outside
                                                                                                                                       connection with potential
                                    counsel for Lior Ron)
                                                                                                                                       acquisition of Ottomotto.




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                                                                                                           Page 4 of 17
                                                                      Case
                                                                      Case3:17-cv-00939-WHA
                                                                           3:17-cv-00939-WHA Document
                                                                                             Document570-1
                                                                                                      370-4 Filed
                                                                                                            Filed06/08/17
                                                                                                                  05/08/17 Page
                                                                                                                           Page38  of18
                                                                                                                                6 of  60

Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
Defendants’ Privilege Log Associated with March 31, 2017 Production of Documents

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 NO.*,**     DOCUMENT                                                                                          PRIV-       DOCUMENT    PRIVILEGE
                                                                    UMENT                                                                                                      UNAUTHORIZED PERSONS
                                                                                                               ILEGE       WAS FOUND
                                                                                                                                       Attachment to Investigation
                                                                                                                                       Report. Memorandum containing
                                                                                                                                       the mental impressions,
                              Morrison & Foerster LLP (outside
                                                                                                                                       conclusions, and opinions of the
                                      counsel for Uber)                         Memorandum regarding
                                                                                                                                       author prepared as part of
                              O’Melveny & Myers LLP (outside                    analysis of information
                                                                                                                            Uber In-   investigation conducted at
           Stroz Friedberg,           counsel for Otto)              August     ascertained from                                                                               [same as Index No. 1]
   12                                                                                                          WP/JI         House     direction of counsel for Uber for
                 LLC          Donahue Fitzgerald LLP (outside        2, 2016    potential witnesses
                                                                                                                            Counsel    purposes of providing legal advice
                                 counsel for Levandowski)                       during Due Diligence
                                                                                                                                       to Uber, in anticipation of
                                Levine & Baker LLP (outside                     Investigation.
                                                                                                                                       litigation, re: due diligence in
                                    counsel for Lior Ron)
                                                                                                                                       connection with potential
                                                                                                                                       acquisition of Ottomotto in
                                                                                                                                       anticipation of potential litigation.

                                                                                                                                       Attachment to investigation report
                                                                                                                                       prepared at direction of counsel for
                              Morrison & Foerster LLP (outside                  File collected from A.
                                                                                                                                       Uber for purposes of providing
                                      counsel for Uber)                         Levandowski and
                                                                                                                                       legal advice to Uber, in
                              O’Melveny & Myers LLP (outside                    obtained by Stroz
                                                                                                                            Uber In-   anticipation of litigation, re: due
           Stroz Friedberg,           counsel for Otto)              August     Friedberg, LLC during                                                                       [same as Index No. 1]
  13**                                                                                                         WP/JI         House     diligence in connection with
                 LLC          Donahue Fitzgerald LLP (outside        5, 2016    Due Diligence
                                                                                                                            Counsel    potential acquisition of Ottomotto.
                                 counsel for Levandowski)                       Investigation and
                                                                                                                                       Selection of document for
                                Levine & Baker LLP (outside                     appended to Investigation
                                                                                                                                       inclusion in report reflects thought
                                    counsel for Lior Ron)                       Report.
                                                                                                                                       process of investigators retained to
                                                                                                                                       perform investigation.




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                                                                                                            Page 5 of 17
                                                                      Case
                                                                      Case3:17-cv-00939-WHA
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                                                                                                      370-4 Filed
                                                                                                            Filed06/08/17
                                                                                                                  05/08/17 Page
                                                                                                                           Page39  of18
                                                                                                                                7 of  60

Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
Defendants’ Privilege Log Associated with March 31, 2017 Production of Documents

                                                                                                              NATURE       LOCATION
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                                                                                                               ILEGE       WAS FOUND


                                                                                                                                       Attachment to investigation report
                                                                                                                                       prepared at direction of counsel for
                              Morrison & Foerster LLP (outside                  File collected from A.
                                                                                                                                       Uber for purposes of providing
                                      counsel for Uber)                         Levandowski and
                                                                                                                                       legal advice to Uber, in
                              O’Melveny & Myers LLP (outside                    obtained by Stroz
                                                                                                                            Uber In-   anticipation of litigation, re: due
           Stroz Friedberg,           counsel for Otto)              August     Friedberg, LLC during                                                                       [same as Index No. 1]
  14**                                                                                                         WP/JI         House     diligence in connection with
                 LLC          Donahue Fitzgerald LLP (outside        5, 2016    Due Diligence
                                                                                                                            Counsel    potential acquisition of Ottomotto.
                                 counsel for Levandowski)                       Investigation and
                                                                                                                                       Selection of document for
                                Levine & Baker LLP (outside                     appended to Investigation
                                                                                                                                       inclusion in report reflects thought
                                    counsel for Lior Ron)                       Report.
                                                                                                                                       process of investigators retained to
                                                                                                                                       perform investigation.

                                                                                                                                       Attachment to investigation report
                                                                                Communications                                         prepared at direction of counsel for
                              Morrison & Foerster LLP (outside
                                                                                collected from A.                                      Uber for purposes of providing
                                      counsel for Uber)
                                                                                Levandowski and                                        legal advice to Uber, in
                              O’Melveny & Myers LLP (outside
                                                                                obtained by Stroz                           Uber In-   anticipation of litigation, re: due
           Stroz Friedberg,           counsel for Otto)              August                                                                                                 [same as Index No. 1]
  15**                                                                          Friedberg, LLC during          WP/JI         House     diligence in connection with
                 LLC          Donahue Fitzgerald LLP (outside        5, 2016
                                                                                Due Diligence                               Counsel    potential acquisition of Ottomotto.
                                 counsel for Levandowski)
                                                                                Investigation and                                      Selection of documents for
                                Levine & Baker LLP (outside
                                                                                appended to Investigation                              inclusion in report reflects thought
                                    counsel for Lior Ron)
                                                                                Report.                                                process of investigators retained to
                                                                                                                                       perform investigation.
                                                                                                                                       Attachment to investigation report
                                                                                                                                       prepared at direction of counsel for
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                                                                                File collected from A.                                 Uber for purposes of providing
                                      counsel for Uber)
                                                                                Levandowski and                                        legal advice to Uber, in
                              O’Melveny & Myers LLP (outside
                                                                                obtained by Stroz                           Uber In-   anticipation of litigation, re: due
           Stroz Friedberg,           counsel for Otto)              August                                                                                                 [same as Index No. 1]
  16**                                                                          Friedberg, LLC during          WP/JI         House     diligence in connection with
                 LLC          Donahue Fitzgerald LLP (outside        5, 2016
                                                                                Stroz Investigation and                     Counsel    potential acquisition of Ottomotto.
                                 counsel for Levandowski)
                                                                                appended to Investigation                              Selection of document for
                                Levine & Baker LLP (outside
                                                                                Report.                                                inclusion in report reflects thought
                                    counsel for Lior Ron)
                                                                                                                                       process of investigators retained to
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                                                                                                            Page 6 of 17
                                                                      Case
                                                                      Case3:17-cv-00939-WHA
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                                                                                             Document570-1
                                                                                                      370-4 Filed
                                                                                                            Filed06/08/17
                                                                                                                  05/08/17 Page
                                                                                                                           Page40  of18
                                                                                                                                8 of  60

Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
Defendants’ Privilege Log Associated with March 31, 2017 Production of Documents

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                                                                                                                                       Report. Report of forensic
                              Morrison & Foerster LLP (outside
                                                                                Report generated during                                analysis prepared as part of
                               counsel for Uber)O’Melveny &
                                                                                Due Diligence                                          investigation conducted at
                               Myers LLP (outside counsel for
                                                                                Investigation                               Uber In-   direction of counsel for Uber for
           Stroz Friedberg,     Otto)Donahue Fitzgerald LLP          August
   17*                                                                          summarizing analysis of        WP/JI         House     purposes of providing legal advice [same as Index No. 1]
                 LLC                 (outside counsel for            5, 2016
                                                                                electronic media                            Counsel    to Uber, in anticipation of
                                Levandowski)Levine & Baker
                                                                                collected from A.                                      litigation, re: due diligence in
                                LLP (outside counsel for Lior
                                                                                Levandowski.                                           connection with potential
                                            Ron)
                                                                                                                                       acquisition of Ottomotto in
                                                                                                                                       anticipation of potential litigation.
                                                                                                                                       Attachment to investigation report
                                                                                Communications                                         prepared at direction of counsel for
                              Morrison & Foerster LLP (outside
                                                                                collected from A.                                      Uber for purposes of providing
                                      counsel for Uber)
                                                                                Levandowski and                                        legal advice to Uber, in
                              O’Melveny & Myers LLP (outside
                                                                                obtained by Stroz                           Uber In-   anticipation of litigation, re: due
           Stroz Friedberg,           counsel for Otto)              August                                                                                                  [same as Index No. 1]
  18**                                                                          Friedberg, LLC during          WP/JI         House     diligence in connection with
                 LLC          Donahue Fitzgerald LLP (outside        5, 2016
                                                                                Due Diligence                               Counsel    potential acquisition of Ottomotto.
                                 counsel for Levandowski)
                                                                                Investigation and                                      Selection of documents for
                                Levine & Baker LLP (outside
                                                                                appended to Investigation                              inclusion in report reflects thought
                                    counsel for Lior Ron)
                                                                                Report.                                                process of investigators retained to
                                                                                                                                       perform investigation.
                                                                                                                                       Attachment to investigation report
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                                                                                                                                       Uber for purposes of providing
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                              O’Melveny & Myers LLP (outside                    obtained by Stroz
                                                                                                                            Uber In-   anticipation of litigation, re: due
           Stroz Friedberg,           counsel for Otto)              August     Friedberg, LLC during                                                                        [same as Index No. 1]
  19**                                                                                                         WP/JI         House     diligence in connection with
                 LLC          Donahue Fitzgerald LLP (outside        5, 2016    Due Diligence
                                                                                                                            Counsel    potential acquisition of Ottomotto.
                                 counsel for Levandowski)                       Investigation and
                                                                                                                                       Selection of documents for
                                Levine & Baker LLP (outside                     appended to Investigation
                                                                                                                                       inclusion in report reflects thought
                                    counsel for Lior Ron)                       Report.
                                                                                                                                       process of investigators retained to
                                                                                                                                       perform investigation.




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                                                                                                            Page 7 of 17
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                                                                                             Document570-1
                                                                                                      370-4 Filed
                                                                                                            Filed06/08/17
                                                                                                                  05/08/17 Page
                                                                                                                           Page41  of18
                                                                                                                                9 of  60

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                                                                                                                                       Attachment to investigation report
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                              Morrison & Foerster LLP (outside                  Files collected from A.
                                                                                                                                       Uber for purposes of providing
                                      counsel for Uber)                         Levandowski and
                                                                                                                                       legal advice to Uber, in
                              O’Melveny & Myers LLP (outside                    obtained by Stroz
                                                                                                                            Uber In-   anticipation of litigation, re: due
           Stroz Friedberg,           counsel for Otto)              August     Friedberg, LLC during                                                                       [same as Index No. 1]
  20**                                                                                                         WP/JI         House     diligence in connection with
                 LLC          Donahue Fitzgerald LLP (outside        5, 2016    Due Diligence
                                                                                                                            Counsel    potential acquisition of Ottomotto.
                                 counsel for Levandowski)                       Investigation and
                                                                                                                                       Selection of documents for
                                Levine & Baker LLP (outside                     appended to Investigation
                                                                                                                                       inclusion in report reflects thought
                                    counsel for Lior Ron)                       Report.
                                                                                                                                       process of investigators retained to
                                                                                                                                       perform investigation.
                                                                                                                                       Attachment to investigation report
                                                                                                                                       prepared at direction of counsel for
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                                                                                                                                       Uber for purposes of providing
                                      counsel for Uber)                         Levandowski and
                                                                                                                                       legal advice to Uber, in
                              O’Melveny & Myers LLP (outside                    obtained by Stroz
                                                                                                                            Uber In-   anticipation of litigation, re: due
           Stroz Friedberg,           counsel for Otto)              August     Friedberg, LLC during                                                                       [same as Index No. 1]
  21**                                                                                                         WP/JI         House     diligence in connection with
                 LLC          Donahue Fitzgerald LLP (outside        5, 2016    Due Diligence
                                                                                                                            Counsel    potential acquisition of Ottomotto.
                                 counsel for Levandowski)                       Investigation and
                                                                                                                                       Selection of document for
                                Levine & Baker LLP (outside                     appended to Investigation
                                                                                                                                       inclusion in report reflects thought
                                    counsel for Lior Ron)                       Report.
                                                                                                                                       process of investigators retained to
                                                                                                                                       perform investigation.
                                                                                                                                       Attachment to investigation report
                                                                                                                                       prepared at direction of counsel for
                              Morrison & Foerster LLP (outside                  Files collected from A.
                                                                                                                                       Uber for purposes of providing
                                      counsel for Uber)                         Levandowski and
                                                                                                                                       legal advice to Uber, in
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  22**                                                                                                         WP/JI         House     diligence in connection with
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                                                                                                                            Counsel    potential acquisition of Ottomotto.
                                 counsel for Levandowski)                       Investigation and
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                                                                                                            Page 8 of 17
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                                                                                                                  05/08/17 Page
                                                                                                                           Page 42
                                                                                                                                10 of
                                                                                                                                   of 60
                                                                                                                                      18
Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
Defendants’ Privilege Log Associated with March 31, 2017 Production of Documents

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  24**                                                                          Friedberg during Due           WP/JI         House     diligence in connection with
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                                                                                Diligence Investigation                     Counsel    potential acquisition of Ottomotto.
                                 counsel for Levandowski)
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                                                                                                            Page 9 of 17
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                                                                                                                  05/08/17 Page
                                                                                                                           Page 43
                                                                                                                                11 of
                                                                                                                                   of 60
                                                                                                                                      18
Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
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  25**                                                                                                         WP/JI         House     diligence in connection with
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                                                                                                            Page 10 of 17
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                                                                                                                  05/08/17 Page
                                                                                                                           Page 44
                                                                                                                                12 of
                                                                                                                                   of 60
                                                                                                                                      18
Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
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                                                                                                            Page 11 of 17
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                                                                                             Document 570-1
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                                                                                                                  05/08/17 Page
                                                                                                                           Page 45
                                                                                                                                13 of
                                                                                                                                   of 60
                                                                                                                                      18
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                                                                                                            Page 12 of 17
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                                                                      Case 3:17-cv-00939-WHA
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                                                                                             Document 570-1
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                                                                                                                  05/08/17 Page
                                                                                                                           Page 46
                                                                                                                                14 of
                                                                                                                                   of 60
                                                                                                                                      18
Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
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                                                                                                            Page 13 of 17
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                                                                                                                  05/08/17 Page
                                                                                                                           Page 47
                                                                                                                                15 of
                                                                                                                                   of 60
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                                                                                                            Page 14 of 17
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                                                                                             Document 570-1
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                                                                                                            Filed 06/08/17
                                                                                                                  05/08/17 Page
                                                                                                                           Page 48
                                                                                                                                16 of
                                                                                                                                   of 60
                                                                                                                                      18
Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
Defendants’ Privilege Log Associated with March 31, 2017 Production of Documents

                                                                                                              NATURE    LOCATION
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 NO.*,**     DOCUMENT                                                                                          PRIV-    DOCUMENT       PRIVILEGE
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                              Morrison & Foerster LLP (outside                  Files collected from A.
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                                      counsel for Uber)                         Levandowski and
                                                                                                                                       legal advice to Uber, in
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           Stroz Friedberg,           counsel for Otto)              August     Friedberg, LLC during                                                                       [same as Index No. 1]
  37**                                                                                                         WP/JI         House     diligence in connection with
                 LLC          Donahue Fitzgerald LLP (outside        5, 2016    Due Diligence
                                                                                                                            Counsel    potential acquisition of Ottomotto.
                                 counsel for Levandowski)                       Investigation and
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                                                                                                            Page 15 of 17
                                                                      Case
                                                                      Case 3:17-cv-00939-WHA
                                                                           3:17-cv-00939-WHA Document
                                                                                             Document 570-1
                                                                                                      370-4 Filed
                                                                                                            Filed 06/08/17
                                                                                                                  05/08/17 Page
                                                                                                                           Page 49
                                                                                                                                17 of
                                                                                                                                   of 60
                                                                                                                                      18
Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
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                                                                                                            Page 16 of 17
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                                                                      Case 3:17-cv-00939-WHA
                                                                           3:17-cv-00939-WHA Document
                                                                                             Document 570-1
                                                                                                      370-4 Filed
                                                                                                            Filed 06/08/17
                                                                                                                  05/08/17 Page
                                                                                                                           Page 50
                                                                                                                                18 of
                                                                                                                                   of 60
                                                                                                                                      18
Waymo LLC v. Uber Technologies, Inc., et al., No. 3:17-cv-00939-WHA (N.D. Cal.)
Defendants’ Privilege Log Associated with March 31, 2017 Production of Documents



                                                                        Stroz Friedberg LLC                                    Morrison & Foerster LLP
                                                        Judith Branham                                            Eric Tate
                                                        Scott Brown                                               Anna Ferrari
                                                        Hanley Chew                                               Elizabeth Balassone
                                                        Eric Friedberg                                            Shouvik Biswas
                                                        Mary Fulginiti                                            Elizabeth Crandall-Whittom
                                                        Melanie Maugeri                                           Sarah Davis
                                                        Mitchell Dobi                                             Derek Foran
                                                        Cristina Antalik                                          Teresa MacLean
                                                        Jessica Madore                                            Colette Reiner Mayer
                                                                                                                  Frances Sagapolu
                                                                                                                  Diek Van Nort
                                                                                                                  Ethel Villegas
                                                                       Uber Technologies, Inc.                    Ben Williams
                                                        Andrew Glickman, Esq.
                                                        Todd Hamblet, Esq.
                                                        Christian Lymn, Esq.                                                  O’Melveny & Myers LLP
                                                        Angela Padilla, Esq.                                      Eric Amdursky
                                                        Justin Suhr, Esq.                                         Paul Sieben
                                                        Robert Wu, Esq.
                                                        Salle Yoo, Esq.

                                                                        Ottomotto LLC                                          Donahue Fitzgerald LLP
                                                        Adam Bentley, Esq.                                        John F. Gardner
                                                        Anthony Levandowski                                       Branden Clary
                                                        Lior Ron
                                                                                                                                   Levine & Baker LLP
                                                                                                                  Alisa J. Baker




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                                                                                                          Page 17 of 17
Case 3:17-cv-00939-WHA Document 570-1 Filed 06/08/17 Page 51 of 60




                  EXHIBIT D
Case
 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                         Document570-1
                                  370-3 Filed
                                         Filed06/08/17
                                               05/08/17 Page
                                                         Page52 of 9
                                                              1 of 60




                   EXHIBIT 3
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 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                         Document570-1
                                  370-3 Filed
                                         Filed06/08/17
                                               05/08/17 Page
                                                         Page53 of 9
                                                              2 of 60
       Case
        Case3:17-cv-00939-WHA
             3:17-cv-00939-WHA Document
                                Document570-1
                                         370-3 Filed
                                                Filed06/08/17
                                                      05/08/17 Page
                                                                Page54 of 9
                                                                     3 of 60




Professionals: $250 - $600; Data Discovery Professionals: $275 - $375; and Administrative Professionals:
$110 - $275. These rates apply generally, as well as to travel. The use of subcontractors, if needed, will
be charged at Stroz Friedberg’s rates.

b) Machine Time and Specialized Solutions. The rate for machine time devoted to running a forensic
process is $95 per hour. The rate for use of our proprietary host interrogation tool is $100 per host
(capped at $150,000 per incident); our network traffic capture tool $1,500 per week; our proprietary
incident response tool $5,000 per week per platform; the OmniPeek Network Analyzer $5,000 per week
per platform; and our high speed, on-site malware analysis and forensic hosting tool, $2,500 per week per
platform. Use of our mobile electronic disclosure/discovery processing, hosting and production unit will
be charged at an amount to be structured depending upon the circumstances of the deployment.

c) Electronic Discovery Services. Any electronic discovery consulting services will be billed at the hourly
rates set forth above. All other electronic discovery charges are detailed in Exhibit B.

d) Intelligence and Investigations Division. Forensic accounting, due diligence, or investigation services
requested by Clients will be performed by our Intelligence and Investigations division at the rates in effect
when the work is performed.

e) Testimony. Written testimony or reports will be provided at normal hourly rates. Internal peer review is
part of an Engagement, and normal hourly rates will apply to any supervision of oral testimony and any
internal peer review of proposed reports, affidavits, declarations or oral testimony.

f) Retainer. Stroz Friedberg requests an initial retainer of $75,000 to begin work in this Engagement. In
cases where Stroz Friedberg’s fees and charges approach the limit of the initial or a later retainer amount,
Stroz Friedberg will request funds to replenish the retainer. At the end of the Engagement, Stroz
Friedberg agrees to refund to Uber any amount of the retainer or replenishment, not properly applied to
fees and costs incurred as of the date of termination.

g) Miscellaneous Charges. Stroz Friedberg may charge for other miscellaneous expenses, fees, and
costs including, but not limited to, use of forensically-prepared thumb drives or hard drives (at $50 - $420
depending on size); other computer hardware and digital media; transportation, meals, and lodging;
copies or printed documents; overnight delivery charges; storage fees for original media provided to Stroz
Friedberg, after 30 days at rates up to $50 per month per item; credit check fees, and database searches.
Stroz Friedberg reserves the right to pass on any reasonable legal fees and expenses that are incurred
as the result of the Engagement but will notify Uber before such fees and expenses are incurred.

h) Invoices. The charges will be billed 100% to Uber. Stroz Friedberg will send invoices directly to Uber
with a copy to Morrison. Invoices are due within 30 days of the invoice date. Morrison and Uber shall
notify Stroz Friedberg in writing of any disputed charges within these 30 days; otherwise Stroz Friedberg’s
invoices shall be deemed payable in full. Any charges that remain undisputed and unpaid 30 days after
the invoice date will accrue interest at 1.5 percent per month. Stroz Friedberg reserves the right to
terminate its services at any time if Uber fails to pay Stroz Friedberg’s invoices on time or fails to pay the
requested refresher of a retainer. Any provided estimates of fees and expenses are only estimates and
are not binding.

Confidentiality

The purpose of the Engagement is to enable Uber, Ottomotto, Anthony Levandowski and Lior Ron (who
are parties to a Joint Defense and Common Interest Agreement), along with their respective counsel, to
understand certain factual matters potentially relevant to potential litigation and related matters; therefore,
Stroz Friedberg’s communications with Clients, Uber, Ottomotto, (and Messrs. Levandowski and Ron
(including their respective counsel), Stroz Friedberg’s work product, and all information and data received
from Clients, Uber, and Ottomotto(including its employees and/or their respective counsel) are covered by
common interest, attorney-client privilege and/or attorney work product doctrine. Accordingly, Stroz
Friedberg will maintain as confidential all information and data it receives from Clients, Uber, Ottomotto
(including its employees), and Messrs. Levandowski and Ron (including their respective counsel) (the


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Case
 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                         Document570-1
                                  370-3 Filed
                                         Filed06/08/17
                                               05/08/17 Page
                                                         Page55 of 9
                                                              4 of 60
       Case
        Case3:17-cv-00939-WHA
             3:17-cv-00939-WHA Document
                                Document570-1
                                         370-3 Filed
                                                Filed06/08/17
                                                      05/08/17 Page
                                                                Page56 of 9
                                                                     5 of 60




other malware; therefore, Clients, Uber and Ottomotto assume responsibility to protect themselves with
respect to the receipt of data from Stroz Friedberg or any other party and shall advise its agents and third-
party recipients to take similar precautions. Other than due to its and their willful misconduct, in no event
shall Stroz Friedberg, its officers, employees, or agents be liable for damages, under any theory, beyond
the amount paid to Stroz Friedberg under this Engagement.

Return of Client Materials

Prior to the end of the Engagement, Stroz Friedberg and Clients will confirm the disposition of any original
materials provided by Client or Uber or Ottomotto, to Stroz Friedberg. In the event that, after using its
reasonable efforts to do so, Stroz Friedberg is not able to return to Clients, Uber, or Ottomotto original
materials provided by Clients, Uber, or Ottomotto to Stroz Friedberg, Stroz Friedberg reserves the right to
destroy such original materials pursuant to its then-current destruction policy (subject to the preceding
sentence).

Conflicts

This Engagement pertains to a discrete matter and would not preclude Stroz Friedberg from rendering
services to other clients adverse to Clients or Uber or Ottomotto on matters that are not specifically
related to this Engagement.

Miscellaneous

Clients, Uber, Ottomotto and Stroz Friedberg agree that the Engagement shall be governed by and
construed and enforced in accordance with the internal laws of the State of California (as opposed to the
conflict of law provisions) as an agreement made and to be performed entirely within such State. Clients,
Uber, Ottomotto, and Stroz Friedberg agree that this Agreement (1) may not be modified or amended,
except by a writing signed by each party; (2) shall be binding upon each party, its successors and
permitted assigns; and (3) contains the entire agreement and understanding among Clients, Uber,
Ottomotto, and Stroz Friedberg with respect to the subject matter hereof and supersedes all prior
agreements and understandings, written or oral, among Clients, Uber, Ottomotto, and Stroz Friedberg
with respect to the subject matter hereof. No provision of this Agreement may be waived except in writing
by the party against whom such waiver is sought to be enforced. No express or implied waiver, breach or
default by any party of any provision of this Agreement shall constitute a continuing waiver of such
provision or of any other provision of this Agreement. Clients, Uber, Ottomotto, and Stroz Friedberg
hereby consent to the jurisdiction of the Superior Court of the State of California for the County of Santa
Clara and the United States District Court for the Northern District of California for all purposes in
connection with the Engagement, and further consent that any process or notice of motion may be served
as a notice, if in writing and given by (1) prepaid certified or regular first class mail, (2) personal delivery,
or (3) nationally recognized overnight delivery service at the addresses set forth at the beginning of this
letter, and shall be deemed given when sent, within or without the State of California, provided a
reasonable time for appearance is allowed. This letter, along with the protocol attached hereto,amends,
restates, and supersedes all previous communications between the undersigned regarding the
Engagement.




                                                                                                                4
Case
 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                         Document570-1
                                  370-3 Filed
                                         Filed06/08/17
                                               05/08/17 Page
                                                         Page57 of 9
                                                              6 of 60
Case
 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                         Document570-1
                                  370-3 Filed
                                         Filed06/08/17
                                               05/08/17 Page
                                                         Page58 of 9
                                                              7 of 60
      Case
       Case3:17-cv-00939-WHA
            3:17-cv-00939-WHA Document
                               Document570-1
                                        370-3 Filed
                                               Filed06/08/17
                                                     05/08/17 Page
                                                               Page59 of 9
                                                                    8 of 60




If you find this letter satisfactory, kindly return an executed copy together with Uber’s check or wire
transfer in the amount of $75,000. Stroz Friedberg looks forward to working with you. Very truly yours,

STROZ FRIEDBERG, LLC


By:     _____________________________
        Eric Friedberg
        Executive Chairman


        AGREED TO AND ACCEPTED:                           AGREED TO AND ACCEPTED:
        Morrison & Foerster LLP                           O’Melveny & Meyers



        By: ___________________________                   By: ___________________________
            Eric Akira Tate                                   Paul Sieben
            Partner                                           Partner



                                                          ACKNOWLEDGED AND AGREED TO:
                                                          Ottomotto LLC


                                                          By:____________________________
                                                            Name:
                                                            Title:




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Case
 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                         Document570-1
                                  370-3 Filed
                                         Filed06/08/17
                                               05/08/17 Page
                                                         Page60 of 9
                                                              9 of 60
